 

Case 1:19-cv-07993-GBD-OTW Document 343 Filed 03/06/23 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAKE THE ROAD NEW YORK, AFRICAN
SERVICES COMMITTEE, ASIAN AMERICAN
FOUNDATION, CATHOLIC CHARITIES ORDER
COMMUNITY SERVICES (ARCHDIOCESE OF ~
NEW YORK), and CATHOLIC LEGAL 19 Civ. 7993 (GBD)
IMMIGRATION NETWORK, INC.,

Plaintiffs,
-against-
KEN CUCCINELLI, UNITED STATES CITIZENSHIP *
& IMMIGRATION SERVICES, KEVIN K.
McALEENAN, UNITED STATES DEPARTMENT
30F HOMELAND SECURITY, and CHAD F. WOLF,

Defendants.

GEORGE B. DANIELS, United States District Judge:
Plaintiffs’ Notice of Voluntary Dismissal, (ECF No. 342), is APPROVED.
The Clerk of Court is directed to close the above-captioned action.

Dated: March 6, 2023

New York, New York
SO ORDERED.

Gray, B b Dorrbe

IRR B. DANIELS
ates District Judge
